                   UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF WISCONSIN
                        MILWAUKEE DIVISION

FREDRICK GOLDEN,
individually and on behalf of
all others similarly situated,

             Plaintiffs,                             CASE NO. 19-cv-1662

      v.

COURIER DISTRIBUTION SYSTEMS, LLC,

             Defendant.


              COLLECTIVE AND CLASS ACTION COMPLAINT


                           PRELIMINARY STATEMENT

      1.         This is a collective and class action brought by Plaintiff Fredrick

Golden, individually and on behalf of the members of the proposed classes identified

below. Plaintiff and the putative class members are, or were, delivery drivers

employed by Defendant Courier Distribution Services, LLC (hereinafter “CDS”) at

times since November 12, 2016. Since that time, CDS has had a common policy and

practice of deducting daily meal periods from its delivery drivers’ hours worked

despite knowing or having reason to know that its delivery drivers have performed

work during such meal periods. As a result, CDS has denied Plaintiff Golden and

the putative class members of pay for all hours worked in excess of forty in given

workweeks at the applicable overtime premium rate mandated by the Fair Labor

Standards Act of 1938, as amended (“FLSA”) as well Wisconsin law. In addition,




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CDS has violated Wisconsin law for Plaintiff Golden and the Wisconsin Class by

failing to pay them at their agreed-upon rates of pay for all hours worked.

      2.         Plaintiff Fredrick Golden brings this action, individually and on

behalf of other similarly situated current and former hourly employees, as a

collective action pursuant to the Fair Labor Standards Act of 1938, as amended,

(“FLSA”) for the purpose of obtaining relief under the FLSA for unpaid overtime

compensation, liquidated damages, declaratory and/or injunctive relief, costs,

attorneys’ fees, and/or any such other relief the Court may deem appropriate.

Plaintiff Fredrick Golden also brings this action pursuant to FED. R. CIV. P. 23 for

purposes of obtaining relief under Wisconsin’s wage laws for unpaid overtime

compensation, unpaid agreed-upon wages, civil penalties, costs, attorneys’ fees,

declaratory and/or injunctive relief, and/or any such other relief the Court may

deem appropriate.

                          JURISDICTION AND VENUE

      3.         This Court has original jurisdiction to hear this complaint and to

adjudicate the claims stated herein under 28 U.S.C. §1331, this action being

brought under the FLSA, 29 U.S.C. §201, et seq.

      4.         The Court has supplemental jurisdiction over the state law claims

pursuant to 28 U.S.C. §1367, as they are so related in this action within such

original jurisdiction that they form part of the same case or controversy under

Article III of the United States Constitution.




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      5.           Venue is proper pursuant to 28 U.S.C. §1391(b) and (c) in the U.S.

District Court for the Eastern District of Wisconsin because a substantial part of

the events or omissions giving rise to the claim occurred within the district and

Defendant CDS has substantial and systematic contacts in this district – including

operating a facility in Sussex, Wisconsin.

                                       PARTIES

      6.           Defendant Courier Distribution Systems, LLC is a Foreign Limited

Liability Company with a principal place of business located in Duluth, Georgia.

CDS’s registered agent for service of process is Ali Eshai located in Duluth, Georgia.

      7.           Plaintiff Fredrick Golden is an adult resident of Milwaukee County

in the State of Wisconsin. Plaintiff Golden is a current employee of CDS who has

worked as a delivery driver since approximately June 26, 2017. Golden’s Notice of

Consent to Join this collective action pursuant to 29 U.S.C. § 216(b) is attached as

Exhibit A to this Complaint and is incorporated herein.

      8.           Plaintiff Golden brings this action individually and on behalf of the

FLSA Collective Class as authorized under the FLSA, 29 U.S.C. § 216(b). The FLSA

Collective Class is defined as follows:

               All persons who are or have been employed by CDS as
               delivery drivers at any time since November 12, 2016.

      9.           Plaintiff Golden brings this action individually and on behalf of the

Wisconsin Class pursuant to FED. R. CIV. P. 23. The Wisconsin Class is defined as

follows:




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             All persons who are or have been employed by CDS as
             delivery drivers in the State of Wisconsin at any time
             since November 12, 2017.

      10.         The Wisconsin Class and FLSA Collective Class are hereinafter

referred to collectively as the “Classes.”


                             GENERAL ALLEGATIONS

      11.    CDS provides courier and express delivery services throughout the

United States and has operated a warehousing, dispatch, and delivery center in

Waukesha County in the State of Wisconsin at times since November 12, 2016.

      12.    Plaintiff Golden and the FLSA Collective Class work, or have worked

as delivery drivers for CDS at times since November 12, 2016.

      13.    Plaintiff Golden and the Wisconsin Class work, or have worked, as

delivery drivers for CDS at times since November 12, 2017.

      14.    Since November 12, 2016, Plaintiff Golden and the Classes have had

the primary duty of delivering packages for CDS pursuant to CDS’s agreements

with third parties companies, such as Amazon.

      15.    At times since November 12, 2016, CDS has paid Plaintiff Golden and

the Classes on a flat-rate per delivery route basis plus additional compensation for

hours worked in excess of forty in a given workweek.

      16.    At a point in time since November 12, 2016, CDS changed its

compensation practices for Plaintiff Golden and the Classes from a flat-rate per

delivery route basis plus additional compensation for hours worked in excess of

forty per workweek to an hourly basis.




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      17.    Since November 12, 2016, CDS has required Plaintiff Golden and the

Classes to records their hours worked on a daily basis – including, at times,

requiring them to record their hours of work via a program called Paycom installed

on their mobile phones.

      18.    Since November 12, 2016, CDS has suffered or permitted Plaintiff

Golden and the Classes to work in excess of forty hours per workweek while

performing their job duties for CDS.

      19.    Since November 12, 2016, CDS has tracked Plaintiff Golden and the

Classes’ performance of their job duties throughout the workday in real-time via

GPS monitoring as well as by electronically tracking the specific dates, times, and

locations at which Plaintiff Golden and the Classes have delivered packages.

      20.    Since November 12, 2016, CDS has deducted meal periods of 30

minutes in length from Plaintiff Golden and the Classes’ compensable hours worked

for each shift worked in excess of 6 hours in a workday.

      21.    Since November 12, 2016, Plaintiff Golden and the Classes have

regularly performed compensable work during time periods which CDS has

designated as “meal periods” and deducted from their compensable hours worked.

      22.    Since November 12, 2016, CDS’s GPS and package-delivery records

that track Plaintiff Golden and the Classes’ work performed in real-time throughout

the day have shown that Plaintiff Golden and the Classes have been performing

work during periods of time which CDS has designated as “meal periods” and

deducted from their compensable hours worked.




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      23.    As a result of CDS’s common practice of deducting compensable work

hours from Plaintiff Golden and the Classes for “meal periods”, CDS has failed to

compensate Plaintiff Golden and the Classes for all hours worked since November

12, 2016 – including hours worked in excess of forty hours per workweek – in

violation of the FLSA and Wisconsin law.

      24.    CDS’s conduct, as set forth in this complaint, was willful, dilatory,

unjust, and in bad faith, and has caused significant damages to Plaintiff Golden, the

Wisconsin Class, and the FLSA Collective Class.

         COLLECTIVE ACTION ALLEGATIONS UNDER THE FLSA

      25.    Plaintiff Golden and the FLSA Collective Class are and have been

similarly situated, have and have had substantially similar pay provisions, and are

and have been subject to CDS’s common decisions, policies, plans and programs,

practices, procedures, protocols, routines, and rules willfully failing and refusing to

compensate them for each hour worked in excess of forty hours in a workweek. The

claims of Plaintiff Golden as stated herein are the same as those of the FLSA

Collective Class.

      26.    Plaintiff Golden and the FLSA Collective Class seek relief on a

collective basis challenging, among other FLSA violations, CDS’s practice failing to

pay employees for all hours worked in excess of forty in a given workweek at one

and one-half times their respective regular rates of pay.

      27.    The FLSA Section 216(b) FLSA Collective Class’ members are readily

ascertainable. For purpose of notice and other reasons related to this action, their




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names, phone numbers, and addresses are readily available from CDS. Notice can

be provided to the FLSA Collective Class via first class mail, email, and/or text

messages to the last known contact information to CDS and through posting at

CDS’s facilities in areas where postings are normally made.

                RULE 23 CLASS ALLEGATIONS – WISCONSIN

      28.    Plaintiff Golden brings his Wisconsin state law claims, pursuant to

Wisconsin wage laws, under FED. R. CIV. P. 23 on behalf of the Wisconsin Class for

violations occurring on or after November 12, 2017 (the “Wisconsin Class Period”).

      29.    The proposed Wisconsin Class members are so numerous that joinder

of all members is impracticable, and more importantly the disposition of their

claims as a class will benefit the parties and the Court. Although the precise

number of such persons is unknown, and the facts on which the calculation of that

number are presently within the sole control of CDS, upon information and belief,

there are over 40 members in the Wisconsin Class.

      30.    Plaintiff Golden’s claims are typical of those claims that could be

alleged by any member of the Wisconsin Class, and the relief sought is typical of the

relief that would be sought by each member of the Wisconsin Class in separate

actions. The alleged claims arise out of the same corporate practice and/or policy of

CDS and CDS benefited from the same type of unfair and/or wrongful acts as to

each member of the respective Wisconsin Class. Plaintiff Golden and the other

members of the Wisconsin Class sustained similar losses, injuries, and damages

arising from the same unlawful policies, practices, and procedures.




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      31.    Plaintiff Golden is able to fairly and adequately protect the interests of

the Wisconsin Class, has no interests antagonistic to the Wisconsin Class, and has

retained counsel experienced in complex wage and hour class action litigation.

      32.    There are questions of fact and law common to the Wisconsin Class

that predominate over any questions affecting only individual members. The

questions of law and fact common to the class arising from CDSs’ actions include,

without limitation, the following:

      a) Whether CDS’s lunch deduction policy violated Wisconsin’s wage laws;

      b) Whether CDS failed to accurately track meal periods for Plaintiff Golden
         and the Wisconsin Class as required by Wisconsin’s wage laws;

      c) Whether CDS failed to pay Plaintiff Golden and Wisconsin Class for all
         work CDS suffered or permitted them to perform as required by
         Wisconsin’s wage laws; and

      d) The nature and extent of class-wide injury and the measure of damages
         for the injury.

      33.    A class action is superior to any other available methods for the fair

and efficient adjudication of the controversy, particularly in the context of wage and

hour litigation where individual plaintiffs lack the financial resources to vigorously

prosecute separate lawsuits in federal court against a corporate defendant,

particularly those plaintiffs with relatively small claims.

      34.    The questions set forth above predominate over any questions that

affect only individual persons, and a class action is superior with respect to

considerations of consistency, economy, efficiency, fairness, and equity, to other

available methods for the fair and efficient adjudication of the claims.




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                        FIRST CLAIM FOR RELIEF
 Violations of the Fair Labor Standards Act of 1938 as Amended – Unpaid
                             Overtime Wages

      35.     Plaintiff Golden, individually and on behalf of the FLSA Collective

Class, reasserts and incorporates by reference all preceding paragraphs as if

restated herein.

      36.     Since November 12, 2016, Plaintiff Golden and the FLSA Collective

Class have been entitled to the rights, protections, and benefits provided under the

FLSA, 29 U.S.C. §201 et. seq.

      37.     Since November 12, 2016, CDS has been and continues to be an

enterprise engaged in commerce within the meaning of 29 U.S.C. §203(s)(1).

      38.     At times since November 12, 2016, Plaintiff Golden and the members

of the FLSA Collective Class have been employees within the meaning of 29 U.S.C.

§ 203(e).

      39.     At times since November 12, 2016, CDS has been an employer of

Plaintiff Golden and the FLSA Collective Class as provided under 29 U.S.C. §

203(d).

      40.     Since November 12, 2016, CDS has violated the FLSA by failing to pay

overtime compensation due to Plaintiff Golden and the FLSA Collective Class for

each hour worked in excess of forty hours in any given workweek.

      41.     Plaintiff Golden and the FLSA Collective Class are entitled to damages

equal to mandated overtime premium pay for all hours worked within the three

years prior to the filing of this Complaint, plus periods of equitable tolling because




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CDS acted willfully and knew or showed reckless disregard for whether its conduct

was prohibited by the FLSA.

      42.     CDS’s failure to properly compensate Plaintiff Golden and the FLSA

Collective Class was willfully perpetrated and Plaintiff Golden and the FLSA

Collective Class are therefore entitled to recover an award of liquidated damages in

an amount equal to the amount of unpaid overtime premium pay described above

pursuant to 29 U.S.C. § 216(b).

      43.     Alternatively, should the Court find that CDS did not act willfully in

failing to pay overtime premium wages, Plaintiff Golden and the FLSA Collective

Class are entitled to an award of pre-judgment interest at the applicable legal rate.

      44.     Pursuant to 29 U.S.C. §216(b), Plaintiff Golden and the FLSA

Collective Class are entitled to reimbursement of the costs and attorneys’ fees

expended in successfully prosecuting this action.

                         SECOND CLAIM FOR RELIEF
             Violations of Wisconsin Law – Unpaid Overtime Wages

      45.         Plaintiff Golden, individually and on behalf of the Wisconsin Class,

re-alleges and incorporates by reference all preceding paragraphs as restated

herein.

      46.         Since November 12, 2017, Plaintiff Golden and the Wisconsin

Class have been employees within the meaning of Wis. Stat. §§ 109.01 et seq.

      47.         Since November 12, 2017, Plaintiff Golden and the Wisconsin

Class have been employees within the meaning of Wis. Stat. §§ 103.001 et seq.




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          48.       Since November 12, 2017, Plaintiff Golden and the Wisconsin

Class have been employees within the meaning of Wis. Stat. §§ 104.01 et seq.

          49.       Since November 12, 2017, Plaintiff Golden and the Wisconsin

Class have been employees within the meaning of Wis. Admin. Code §§ DWD

272.001 et seq.

          50.       Since November 12, 2017, Plaintiff Golden and the Wisconsin

Class have been employees within the meaning of Wis. Admin. Code §§ DWD 274.01

et seq.

          51.       Since November 12, 2017, CDS has been an employer within the

meaning of Wis. Stat. §§ 109.01 et seq.

          52.       Since November 12, 2017, CDS has been an employer within the

meaning of Wis. Stat. §§ 103.001 et seq.

          53.       Since November 12, 2017, CDS has been an employer within the

meaning of Wis. Stat. §§ 104.01 et seq.

          54.       Since November 12, 2017, CDS has been an employer within the

meaning of Wis. Admin. Code §§ DWD 272.001 et seq.

          55.       Since November 12, 2017, CDS has been an employer within the

meaning of Wis. Admin. Code §§ DWD 274.01 et seq.

          56.       Since November 12, 2017, CDS has employed, and/or continues to

employ Plaintiff Golden and the Wisconsin Class within the meaning of Wis. Stat.

§§ 109.01 et seq.




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      57.           Since November 12, 2017, CDS has employed, and/or continues to

employ Plaintiff Golden and the Wisconsin Class within the meaning of Wis. Stat.

§§ 103.001 et seq.

      58.           Since November 12, 2017, CDS has employed, and/or continues to

employ Plaintiff Golden and the Wisconsin Class within the meaning of Wis. Stat.

§§ 104.01 et seq.

      59.           Since November 12, 2017, CDS has employed, and/or continues to

employ Plaintiff Golden and the Wisconsin Class within the meaning of Wis.

Admin. Code §§ DWD 272.001 et seq.

      60.           Since November 12, 2017, CDS has employed, and/or continues to

employ Plaintiff Golden and the Wisconsin Class within the meaning of Wis.

Admin. Code §§ DWD 274.01 et seq.

      61.           Since November 12, 2017, Plaintiff Golden and the Wisconsin

Class regularly performed their job duties during time periods which CDS has

improperly deducted from their compensable hours worked and classified as “meal

periods” in violation of Wisconsin law.

      62.           Since November 12, 2017, CDS had, and continues to have,

common policies, programs, practices, procedures, protocols, routines, and rules of

willfully failing to properly pay Plaintiff Golden and the Wisconsin Class overtime

wages for all hours worked in excess of forty hours in a given workweek due to its

improper deduction of meal periods.




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      63.         Wis. Stat. §109.03 requires payment of all wages earned by the

employee to a day not more than 31 days prior to the date of payment.

      64.         The foregoing conduct, as alleged above, constitutes continuing,

willful, dilatory, and unjust violations of Wisconsin’s law requiring the payment of

overtime wages.

      65.         As set forth above, Plaintiff Golden and the Wisconsin Class have

sustained losses in their compensation as a proximate result of CDS’s actions as

alleged herein. Accordingly, Plaintiff Golden, individually and on behalf of the

Wisconsin Class, seeks damages in the amount of their respective unpaid overtime

compensation, injunctive relief requiring CDS to cease and desist from its violations

of the Wisconsin laws described herein and to comply with them, and such other

legal and equitable relief as the Court deems just and proper.

      66.     Pursuant to Wis. Stat. §109.11, Plaintiff Golden and the Wisconsin

Class are entitled to liquidated damages equal and up to fifty percent of their

unpaid wages.

      67.     Pursuant to Wis. Stat. §109.03(6), Plaintiff Golden and the Wisconsin

Class are entitled to recovery of their attorneys’ fees and costs incurred in pursuing

their claims for unpaid wages.

                           THIRD CLAIM FOR RELIEF
            Violations of Wisconsin Law – Unpaid Agreed-Upon Wages

      1.      Plaintiff Golden, individually and on behalf of the Wisconsin Class, re-

alleges and incorporates by reference all preceding paragraphs as restated herein.




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       2.    Since November 12, 2017, Plaintiff Golden and the Wisconsin Class

have been employees within the meaning of Wis. Stat. §§ 109.01 et seq.

       3.    Since November 12, 2017, Plaintiff Golden and the Wisconsin Class

have been employees within the meaning of Wis. Stat. §§ 103.001 et seq.

       4.    Since November 12, 2017, Plaintiff Golden and the Wisconsin Class

have been employees within the meaning of Wis. Stat. §§ 104.01 et seq.

       5.    Since November 12, 2017, Plaintiff Golden and the Wisconsin Class

have been employees within the meaning of Wis. Admin. Code §§ DWD 272.001 et

seq.

       6.    Since November 12, 2017, Plaintiff Golden and the Wisconsin Class

have been employees within the meaning of Wis. Admin. Code §§ DWD 274.01 et

seq.

       7.    Since November 12, 2017, CDS has been an employer within the

meaning of Wis. Stat. §§ 109.01 et seq.

       8.    Since November 12, 2017, CDS has been an employer within the

meaning of Wis. Stat. §§ 103.001 et seq.

       9.    Since November 12, 2017, CDS has been an employer within the

meaning of Wis. Stat. §§ 104.01 et seq.

       10.   Since November 12, 2017, CDS has been an employer within the

meaning of Wis. Admin. Code §§ DWD 272.001 et seq.

       11.   Since November 12, 2017, CDS has been an employer within the

meaning of Wis. Admin. Code §§ DWD 274.01 et seq.




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      12.    Since November 12, 2017, CDS has employed, and/or continues to

employ Plaintiff Golden and the Wisconsin Class within the meaning of Wis. Stat.

§§ 109.01 et seq.

      13.    Since November 12, 2017, CDS has employed, and/or continues to

employ Plaintiff Golden and the Wisconsin Class within the meaning of Wis. Stat.

§§ 103.001 et seq.

      14.    Since November 12, 2017, CDS has employed, and/or continues to

employ Plaintiff Golden and the Wisconsin Class within the meaning of Wis. Stat.

§§ 104.01 et seq.

      15.    Since November 12, 2017, CDS has employed, and/or continues to

employ Plaintiff Golden and the Wisconsin Class within the meaning of Wis.

Admin. Code §§ DWD 272.001 et seq.

      16.    Since November 12, 2017, CDS has employed, and/or continues to

employ Plaintiff Golden and the Wisconsin Class within the meaning of Wis.

Admin. Code §§ DWD 274.01 et seq.

      17.    Since November 12, 2017, Plaintiff Golden and the Wisconsin Class

regularly performed their job duties during time periods which CDS has improperly

deducted from their compensable hours worked and classified as “meal periods” in

violation of Wisconsin law.

      18.    Since November 12, 2017, CDS had, and continues to have, common

policies, programs, practices, procedures, protocols, routines, and rules of willfully




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failing to properly pay Plaintiff Golden and the Wisconsin Class agreed-upon wages

for all hours worked as a result of their improper deduction of “meal periods.”

      19.     Wis. Stat. §109.03 requires payment of all wages earned by the

employee to a day not more than 31 days prior to the date of payment.

      20.     The foregoing conduct, as alleged above, constitutes continuing, willful,

dilatory, and unjust violations of Wisconsin’s law requiring the payment of agreed-

upon wages.

      21.     As set forth above, Plaintiff Golden and the Wisconsin Class have

sustained losses in their compensation as a proximate result of CDS’s actions as

alleged herein. Accordingly, Plaintiff Golden, individually and on behalf of the

Wisconsin Class, seeks damages in the amount of their respective unpaid, agreed-

upon wage compensation, injunctive relief requiring CDS to cease and desist from

its violations of the Wisconsin laws described herein and to comply with them, and

such other legal and equitable relief as the Court deems just and proper.

      22.     Pursuant to Wis. Stat. §109.11, Plaintiff Golden and the Wisconsin

Class are entitled to liquidated damages equal and up to fifty percent of their

unpaid wages.

      23.     Pursuant to Wis. Stat. §109.03(6), Plaintiff Golden and the Wisconsin

Class are entitled to recovery of their attorneys’ fees and costs incurred in pursuing

their claims for unpaid wages.

                              REQUEST FOR RELIEF




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          WHEREFORE, Plaintiff Golden, individually and on behalf of all members of

the FLSA Collective Class and the Wisconsin Class hereby requests the following

relief:

          a) At the earliest time possible, an order designating this action as a
             collective action on behalf of the FLSA Collective Class and allowing
             issuance of notices pursuant to 29 U.S.C. §216(b) to all similarly-situated
             individuals;

          b) At the earliest time possible, an order certifying this action as a FED. R.
             CIV. P. 23 class action on behalf of the proposed Wisconsin Class;

          c) At the earliest time possible, an Order appointing Hawks Quindel, S.C. as
             class counsel pursuant to FED. R. CIV. P. 23;

          d) An order designating Plaintiff Fredrick Golden as the Named Plaintiff
             and as representative of the Wisconsin Class set forth herein;

          e) Leave to add additional Plaintiffs by motion, the filing of written consent
             forms, or any other method approved by the Court;

          f) Issuance of an Order, pursuant to the Declaratory Judgment Act, 28
             U.S.C. §§2201-2202, declaring CDS’s actions as described in the
             Complaint as unlawful and in violation of the FLSA, Wisconsin’s wage
             laws, and their applicable regulations and enjoining CDS from further
             violations of the FLSA and Wisconsin’s wage laws;

          g) An Order finding that CDS violated the FLSA and Wisconsin wage and
             hour laws;

          h) An Order finding that these violations are willful and/or dilatory and
             unjust;

          i) Judgement against CDS in the amount equal to the Plaintiff’s, the FLSA
             Collective Class’s, and the Wisconsin Class’s unpaid wages at the
             applicable agreed-upon wage and/or overtime premium rates;

          j) An award in the amount of all liquidated damages and/or civil penalties
             as provided under Wisconsin Law and the FLSA;

          k) An award in the amount of all costs and attorneys’ fees incurred
             prosecuting these claims;




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      l) To the extent that civil penalties and/or liquidated damages are not
         awarded, an Award of pre-judgment and post-judgement interest; and

       l) Such further relief as the Court deems just and equitable.


Dated this 12th day of November 2019.




                                        Respectfully submitted,

                                        HAWKS QUINDEL S.C.
                                        Attorneys for Plaintiffs


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